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  8
                                UNITED STATES DISTRICT COURT
  9                            CENTRAL DISTRICT OF CALIFORNIA
 10
 11     Ricardo Sherfield                        Case No.

 12               Plaintiff,
                                                 Complaint For Damages And
 13       v.                                     Injunctive Relief For Violations
                                                 Of: Americans With Disabilities
 14     NMH Broadway, LLC, a California          Act; Unruh Civil Rights Act
        Limited Liability Company;
 15     Alpha Beta Company, a California
        Corporation
 16
 17               Defendants.

 18
 19         Plaintiff Ricardo Sherfield complains of NMH Broadway, LLC, a

 20   California Limited Liability Company; Alpha Beta Company, a California

 21   Corporation; and alleges as follows:

 22
 23     PARTIES:

 24     1. Plaintiff is a California resident with physical disabilities. He suffers

 25   from a spinal cord injury and uses a wheelchair for mobility.

 26     2. Defendant NMH Broadway, LLC owned the real property located at or

 27   about 650 E Carson St, Carson, California, in July 2020.

 28     3. Defendant NMH Broadway, LLC owns the real property located at or


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  1   about 650 E Carson St, Carson, California, currently.
  2     4. Defendant Alpha Beta Company owned Ralphs located at or about 650
  3   E Carson St, Carson, California, in July 2020.
  4     5. Defendant Alpha Beta Company owns Ralphs (“Store”) located at or
  5   about 650 E Carson St, Carson, California, currently.
  6     6. Plaintiff does not know the true names of Defendants, their business
  7   capacities, their ownership connection to the property and business, or their
  8   relative responsibilities in causing the access violations herein complained of,
  9   and alleges a joint venture and common enterprise by all such Defendants.
 10   Plaintiff is informed and believes that each of the Defendants herein is
 11   responsible in some capacity for the events herein alleged, or is a necessary
 12   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
 13   the true names, capacities, connections, and responsibilities of the Defendants
 14   are ascertained.
 15
 16     JURISDICTION & VENUE:
 17     7. The Court has subject matter jurisdiction over the action pursuant to 28
 18   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
 19   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
 20     8. Pursuant to supplemental jurisdiction, an attendant and related cause
 21   of action, arising from the same nucleus of operative facts and arising out of
 22   the same transactions, is also brought under California’s Unruh Civil Rights
 23   Act, which act expressly incorporates the Americans with Disabilities Act.
 24     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
 25   founded on the fact that the real property which is the subject of this action is
 26   located in this district and that Plaintiff's cause of action arose in this district.
 27
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  1     FACTUAL ALLEGATIONS:
  2     10. Plaintiff went to the Store in July 2020 with the intention to avail
  3   himself of its goods and to assess the business for compliance with the
  4   disability access laws.
  5     11. The Store is a facility open to the public, a place of public
  6   accommodation, and a business establishment.
  7     12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
  8   to provide wheelchair accessible restrooms in conformance with the ADA
  9   Standards as it relates to wheelchair users like the plaintiff.
 10     13. The Store provides restrooms to its customers but fails to provide
 11   wheelchair accessible restrooms.
 12     14. One problem that plaintiff encountered is that the plumbing
 13   underneath the sink was not wrapped to protect against burning contact. What
 14   is more, the plaintiff did burn his leg on the exposed pipe.
 15     15. Plaintiff believes that there are other features of the restrooms that
 16   likely fail to comply with the ADA Standards and seeks to have fully compliant
 17   restrooms for wheelchair users.
 18     16. On information and belief, the defendants currently fail to provide
 19   wheelchair accessible restrooms.
 20     17. These barriers relate to and impact the plaintiff’s disability. Plaintiff
 21   personally encountered these barriers.
 22     18. As a wheelchair user, the plaintiff benefits from and is entitled to use
 23   wheelchair accessible facilities. By failing to provide accessible facilities, the
 24   defendants denied the plaintiff full and equal access.
 25     19. The failure to provide accessible facilities created difficulty and
 26   discomfort for the Plaintiff.
 27     20. The defendants have failed to maintain in working and useable
 28   conditions those features required to provide ready access to persons with


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  1   disabilities.
  2     21. The barriers identified above are easily removed without much
  3   difficulty or expense. They are the types of barriers identified by the
  4   Department of Justice as presumably readily achievable to remove and, in fact,
  5   these barriers are readily achievable to remove. Moreover, there are numerous
  6   alternative accommodations that could be made to provide a greater level of
  7   access if complete removal were not achievable.
  8     22. Plaintiff will return to the Store to avail himself of its goods and to
  9   determine compliance with the disability access laws once it is represented to
 10   him that the Store and its facilities are accessible. Plaintiff is currently deterred
 11   from doing so because of his knowledge of the existing barriers and his
 12   uncertainty about the existence of yet other barriers on the site. If the barriers
 13   are not removed, the plaintiff will face unlawful and discriminatory barriers
 14   again.
 15     23. Given the obvious and blatant nature of the barriers and violations
 16   alleged herein, the plaintiff alleges, on information and belief, that there are
 17   other violations and barriers on the site that relate to his disability. Plaintiff will
 18   amend the complaint, to provide proper notice regarding the scope of this
 19   lawsuit, once he conducts a site inspection. However, please be on notice that
 20   the plaintiff seeks to have all barriers related to his disability remedied. See
 21   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
 22   encounters one barrier at a site, he can sue to have all barriers that relate to his
 23   disability removed regardless of whether he personally encountered them).
 24
 25   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
 26   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
 27   Defendants.) (42 U.S.C. section 12101, et seq.)
 28     24. Plaintiff re-pleads and incorporates by reference, as if fully set forth


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  1   again herein, the allegations contained in all prior paragraphs of this
  2   complaint.
  3     25. Under the ADA, it is an act of discrimination to fail to ensure that the
  4   privileges, advantages, accommodations, facilities, goods and services of any
  5   place of public accommodation is offered on a full and equal basis by anyone
  6   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
  7   § 12182(a). Discrimination is defined, inter alia, as follows:
  8            a. A failure to make reasonable modifications in policies, practices,
  9                or procedures, when such modifications are necessary to afford
 10                goods,     services,   facilities,   privileges,    advantages,   or
 11                accommodations to individuals with disabilities, unless the
 12                accommodation would work a fundamental alteration of those
 13                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
 14            b. A failure to remove architectural barriers where such removal is
 15                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 16                defined by reference to the ADA Standards.
 17            c. A failure to make alterations in such a manner that, to the
 18                maximum extent feasible, the altered portions of the facility are
 19                readily accessible to and usable by individuals with disabilities,
 20                including individuals who use wheelchairs or to ensure that, to the
 21                maximum extent feasible, the path of travel to the altered area and
 22                the bathrooms, telephones, and drinking fountains serving the
 23                altered area, are readily accessible to and usable by individuals
 24                with disabilities. 42 U.S.C. § 12183(a)(2).
 25     26. When a business provides facilities such as restrooms, it must provide
 26   accessible restrooms.
 27     27. Here, accessible restrooms have not been provided in conformance with
 28   the ADA Standards.


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  1     28. The Safe Harbor provisions of the 2010 Standards are not applicable
  2   here because the conditions challenged in this lawsuit do not comply with the
  3   1991 Standards.
  4     29. A public accommodation must maintain in operable working condition
  5   those features of its facilities and equipment that are required to be readily
  6   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
  7     30. Here, the failure to ensure that the accessible facilities were available
  8   and ready to be used by the plaintiff is a violation of the law.
  9
 10   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
 11   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
 12   Code § 51-53.)
 13     31. Plaintiff repleads and incorporates by reference, as if fully set forth
 14   again herein, the allegations contained in all prior paragraphs of this
 15   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
 16   that persons with disabilities are entitled to full and equal accommodations,
 17   advantages, facilities, privileges, or services in all business establishment of
 18   every kind whatsoever within the jurisdiction of the State of California. Cal.
 19   Civ. Code §51(b).
 20     32. The Unruh Act provides that a violation of the ADA is a violation of the
 21   Unruh Act. Cal. Civ. Code, § 51(f).
 22     33. Defendants’ acts and omissions, as herein alleged, have violated the
 23   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
 24   rights to full and equal use of the accommodations, advantages, facilities,
 25   privileges, or services offered.
 26     34. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
 27   discomfort or embarrassment for the plaintiff, the defendants are also each
 28   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-


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  1   (c).)
  2
  3             PRAYER:
  4             Wherefore, Plaintiff prays that this Court award damages and provide
  5   relief as follows:
  6           1. For injunctive relief, compelling Defendants to comply with the
  7   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
  8   plaintiff is not invoking section 55 of the California Civil Code and is not
  9   seeking injunctive relief under the Disabled Persons Act at all.
 10           2. Damages under the Unruh Civil Rights Act, which provides for actual
 11   damages and a statutory minimum of $4,000 for each offense.
 12           3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
 13   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
 14
      Dated: January 5, 2021               CENTER FOR DISABILITY ACCESS
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 17
 18                                        By: _______________________
 19                                              Russell Handy, Esq.
                                                 Attorney for plaintiff
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